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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

 

 

 

United States of America )
V. )
QUIANNA CAMPBELL a |
) BRON «1 BBE
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of November 26, 2018 & in 2016-2018 in the county of Hamilton in the
Southern District of Ohio , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. Section 1001 (1) Knowingly and willfully making a false, fictitious or fraudulent statement to
26 U.S.C. Section 7206(1) a federal agent pertaining to a matter within the jurisdiction of the United

States, and (2) Willfully making or subscribing a Form 1040 U.S. Individual
Income Tax Return which contains a declaration that it is made under the
penalties of perjury and which the declarant does not believe to be true and
correct as to every material matter

This criminal complaint is based on these facts:
See Attachment

@% Continued on the attached sheet.

LE

Complainant's signature

Chad A. Adolph, Special Agent, IRSCI

Printed name and title

Sworn to before me and signed in my presence.

Date: February 14, 2020 FEZ ten a gather

Juoe s signature

City and state: Cincinnati, Ohio Hon. Karen L. Litkovitz, U.S. Magistrate Judge

Printed name and title
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AFFIDAVIT IN SUPPORT OF
COMPLAINT

I, Chad A. Adolph, a Special Agent with the United States Treasury Department Internal
Revenue Service, Criminal Investigation (IRSCI) hereinafter referred to as the affiant, being duly
sworn, depose and state as follows:

I. INTRODUCTION

1. I am and have been a Special Agent (SA) with the United States Treasury Department,
Internal Revenue Service, Criminal Investigation. I have been employed by the United States
Treasury Department for nearly twenty years. I received training in accounting, financial, and
money laundering investigative techniques at the Federal Law Enforcement Training Center. I
have also attended multiple seminars on money laundering and other financial schemes. My duties
as a special agent include investigating potential criminal violations of Title 26 (Internal Revenue
Code), Title 18 (money laundering and related specified unlawful activities such as narcotics
trafficking, wire fraud, and public corruption) and Title 31 (Bank Secrecy Act) of the United States
Code. I have participated on public corruption and drug trafficking task forces. I am currently
assigned to Organized Crime Drug Enforcement Task Force investigations. As a Special Agent, I
have personally written many search and seizure warrant affidavits and conducted numerous
criminal financial investigations as well as public corruption investigations along with agents from
other agencies and Task Force Officers (TFOs) from other departments.

2. This affidavit is made in support of a criminal complaint for QUIANNA CAMPBELL for
violation of 18 U.S.C. § 1001 (False Statement) and 26 U.S.C. § 7206(1) (False Return). Your
affiant is aware that whoever knowingly and willfully makes a materially false, fictitious or
fraudulent statement to a federal agent pertaining to a matter within the jurisdiction of the United
States has violated 18 U.S.C. § 1001. Furthermore, your affiant knows that whoever willfully

makes and subscribes a Form 1040 U.S. Individual Income Tax Return which contains a
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declaration that it is made under penalties of perjury and which she does not believe to be true and
correct as to every material matter has violated 26 U.S.C. § 7206(1).

3. Because of my personal observations and participation in this investi gation and information
provided to me by other officers and TFOs, I am familiar with facts and circumstances of this
investigation. This affidavit is intended to show only that there is sufficient probable cause for the
requested criminal complaint and does not set forth all of my knowledge of this matter.

II. PROBABLE CAUSE
BACKGROUND OF INVESTIGATION

4. The Cincinnati Police Department (CPD) and the United States Treasury Department
IRSCI along with other federal, state and local partners have been investigating narcotics
trafficking activities of criminal enterprises and violent street gangs operating in Southern Ohio
through a variety of OCDETF investigations. Information obtained during these investigations
identified alleged money laundering organizations (MLO) operating as nightclubs supporting and
facilitating drug trafficking organizations (DTO) wherein drug proceeds are being used to pay
popular entertainers to perform at various nightclubs to generate revenue which would appear to
be legitimate, reportable income.

5. Together with the Cincinnati Police Department (CPD), the United States Treasury
Department IRSCI launched an investigation which is ongoing into money laundering and other
crimes allegedly committed by MLOs and/or those associated with those nightclubs. During the
course of this investigation, information was received that individuals associated with nightclubs
had been or were currently being warned of police activities and were in essence being tipped off
and possibly protected by members of the Cincinnati Police Department. It was discovered during
the ongoing investigation that the identity of an Officer of the Cincinnati Police Department who

had been working in an undercover capacity was divulged to a subject of the undercover

investigation.
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6. CPD and the United States Treasury IRSCI began investigating QUIANNA CAMPBELL
(CAMPBELL) for various criminal offenses including those related to financial benefits received
by CAMPBELL as a result of her employment with CPD. CAMPBELL has been with the
Cincinnati Police Department for eleven years as a Police Officer.

7. On November 26, 2018, your affiant and CPD TFO Colin Vaughn interviewed
CAMPBELL after CAMPBELL was advised of her non-custodial constitutional rights and the
nature of the criminal investigation. During the interview, CAMPBELL stated her telephone
number was 513-276-9352. During the interview, CAMPBELL was asked if an owner of a
nightclub had ever contacted CAMPBELL via text message asking whether an individual was an
officer with the Cincinnati Police Department to which CAMPBELL stated that did not occur.
CAMPBELL was then asked if CAMPBELL ever told the same club owner via text message that
an individual that the club owner was inquiring about was a police officer to which CAMPBELL
stated she had not. CAMPBELL stated that she would never tell or confirm with anyone that an
individual was a police officer because if they were working in an undercover capacity it would
put them in danger.

8. On January 26, 2015, an owner of a nightclub in Cincinnati sent a text message to
CAMPBELL via 513-276-9352 asking who an individual was and if the individual was an
undercover (officer). CAMPBELL responded to the inquiry stating, “She’s an officer...... * The
club owner and CAMPBELL discussed the possible reasons CPD investigated the nightclub and
CAMPBELL told the club owner, “They work random nights and go into different bars. If they
came back again next weekend I would say yes.”

9. During the interview on November 26, 2018, CAMPBELL told your affiant that
CAMPBELL had not reported cash income on her federal tax returns that she earned working off
duty details. CAMPBELL stated that she knew she should have reported the income at the time

she prepared and submitted her federal income tax returns. CAMPBELL told your affiant the
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reason she did not report the cash income she earned was because if she had reported the income
she would not have received as large of tax refunds she received from the federal government.

10. Your affiant is aware that CPD permits Cincinnati Police Officers to work off-duty, police
related details (details). CPD tracks the number of hours officers work details throughout the year.
You affiant obtained those records. Until the calendar year of 2016 the detail rate paid to a police
officer was at least $32.00 per hour. For the calendar year of 2017, the detail rate paid to a police
officer was at least $40.00 per hour. Your affiant obtained the detail records for CAMPBELL
which included the number of detail hours CAMPBELL worked each year for the years 2015,
2016 and 2017. Using the number of detail hours worked each year and the hourly rate paid for
the details your affiant determined the amount of gross income earned by CAMPBELL working
details for the years 2015, 2016, 2017.

11. Your affiant reviewed the 2015 Form 1040 U.S. Individual Income Tax Return filed by
CAMPBELL. Based upon records provided by CPD, CAMPBELL was paid $17,632 in 2015
working details in addition to wages paid by CPD. CAMPBELL omitted the off-duty detail
income from her 2015 Form 1040 U.S. Individual Income Tax Return thus underreported her total
income earned and filed a false tax return with the United States Internal Revenue Service.

12. Your affiant reviewed the 2016 Form 1040 U.S. Individual Income Tax Return filed by
CAMPBELL. Based upon records provided by CPD, CAMPBELL was paid $21,176 in 2016
working details in addition to wages paid by CPD. CAMPBELL reported only $2,944 in off duty
detail income omitting $18,232 from her 2016 Form 1040 U.S. Individual Income Tax Return thus
underreported her total income earned and filed a false tax return with the United States Internal
Revenue Service.

13. Your affiant reviewed the 2017 Form 1040 U.S. Individual Income Tax Return filed by
CAMPBELL. Based upon records provided by CPD, CAMPBELL was paid $24,510 in 2017

working details in addition to wages paid by CPD. CAMPBELL reported only $260 of the off-
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duty detail income and omitted $24,250 from her 2017 Form 1040 U.S. Individual Income Tax
Return thus underreported her total income earned and filed a false tax return with the United
States Internal Revenue Service.

14. Based upon your affiant’s participation in this investigation, your affiant respectfully
submits the aforementioned facts provide probable cause to find that CAMPBELL is in violation
of 18 U.S.C. § 1001 for providing false statements to federal agents of the United States and 26
U.S.C. § 7206(1) willfully making and subscribing returns and documents which CAMPBELL

knew to be false to the United States.

15. I hereby declare that the foregoing is true and correct to the best of my knowledge and

belief, pursuant to the investigation conducted on this case.
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Chad A. Adolph
Special Agent
United States Treasury, IRSCI

 

Subscribed and sworn before me this [Yay of February, 2020 in Cincinnati, Ohio.

Honorable Karen a Likovitz 4

United States Magistrate Judge
Southern District of Ohio
